USCA Case #19-5272    Document #1856344            Filed: 08/13/2020   Page 1 of 39



            NOT YET SCHEDULED FOR ORAL ARGUMENT

              United States Court of Appeals
            for the District of Columbia Circuit
                                No. 19-5272


                                  O.A., et al.,

                                            Plaintiffs-Appellees,

                                       v.

       DONALD J. TRUMP, AS PRESIDENT OF THE UNITED STATES, et al.,

                                            Defendants-Appellants.

                          ------------------------------
   On Appeal from a Final Order of the U.S. District Court for the District of
 Columbia, No. 18-cv-2718-RDM (Hon. Randolph D. Moss, U.S. District Judge)

          BRIEF OF THE OFFICE OF THE UNITED NATIONS
         HIGH COMMISSIONER FOR REFUGEES AS AMICUS
        CURIAE IN SUPPORT OF PLAINTIFFS & AFFIRMANCE

ALICE FARMER                                PATRICK W. PEARSALL
OFFICE OF THE UNITED                        Counsel of Record
NATIONS HIGH COMMISSIONER                   TAYLOR S. WEST
FOR REFUGEES                                ALLEN & OVERY LLP
1800 Massachusetts Ave., N.W.               1101 New York Ave., N.W.
Washington, D.C. 20036                      Washington, D.C. 20005
(202) 296-5191                              (202) 683-3800

                  Counsel for the Office of the United Nations
                      High Commissioner for Refugees
USCA Case #19-5272      Document #1856344            Filed: 08/13/2020    Page 2 of 39



   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         Pursuant to Circuit Rule 28(a)(1), counsel submits the following

  certification:

         (A) Parties, Intervenors, and Amici. Except for the following

  amici, all parties, intervenors, and amici appearing before the district court

  and in this Court are listed in the Brief for Appellants: (1) the States of

  California, Colorado, Connecticut, Delaware, Hawaii, Illinois, Maine,

  Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New

  Mexico, New York, Oregon, Pennsylvania, Rhode Island, Vermont,

  Virginia, Washington, and the District of Columbia; (2) Peter Keisler,

  Carter Phillips, Stuart Gerson, John Bellinger III, Samuel Witten, Stanley

  Twardy, and Richard Bernstein; (3) the City of Chicago, the City of New

  York, the City of Oakland, and the County of Los Angeles; and (4)

  professors of immigration law listed on the brief filed August 3, 2020.

         Amicus Curiae in support of plaintiffs is the Office of the United

  Nations High Commissioner for Refugees (“UNHCR”). Pursuant to Rule

  26.1 of the Federal Rules of Appellate Procedure and Circuit Rule 26.1,

  UNHCR certifies that it is not a corporation, it has no parent corporation,

  and no publicly held corporation owns ten percent or more of its stock.




                                          i
USCA Case #19-5272     Document #1856344           Filed: 08/13/2020     Page 3 of 39



        (B) Rulings Under Review. References to the rulings at issue

  appear in the Brief for Appellants.

        (C) Related Cases. This case has not previously been before this

  Court or any other court for appellate review. To the best of counsel’s

  knowledge, all references to related cases appear in the Brief for Appellants.


        August 13, 2020                        /s/ Patrick W. Pearsall

                                               PATRICK W. PEARSALL
                                               ALLEN & OVERY LLP
                                               1101 New York Ave., N.W.
                                               Washington, D.C. 20005
                                               (202) 683-3800




                                        ii
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020       Page 4 of 39




      CERTIFICATE OF COUNSEL AS TO SEPARATE BRIEFING

        Pursuant to Circuit Rule 29(d), I certify that it is necessary to

  separately file the following Brief of Amicus Curiae. The Office of the

  United Nations High Commissioner for Refugees (“UNHCR”) serves a

  special and influential role in shaping and interpreting international and

  domestic refugee law, which uniquely positions UNHCR to provide the

  Court with relevant insight, expertise, and a perspective that no other amicus

  curiae is capable of providing.


        August 13, 2020                          /s/ Patrick W. Pearsall

                                                 PATRICK W. PEARSALL
                                                 ALLEN & OVERY LLP
                                                 1101 New York Ave., N.W.
                                                 Washington, D.C. 20005
                                                 (202) 683-3800




                                         iii
USCA Case #19-5272                Document #1856344                        Filed: 08/13/2020              Page 5 of 39



                                        TABLE OF CONTENTS


  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
  CASES ............................................................................................................ i
  CERTIFICATE OF COUNSEL AS TO SEPARATE BRIEFING ................ iii
  TABLE OF CONTENTS.............................................................................. iv
  TABLE OF AUTHORITIES ......................................................................... v
  GLOSSARY OF ABBREVIATIONS ........................................................... x
  INTEREST OF AMICUS CURIAE .............................................................. 1
  STATUTES AND REGULATIONS ............................................................. 3
  SUMMARY OF ARGUMENT ..................................................................... 4
  ARGUMENT ................................................................................................. 5
     I.    The United States Is Bound by the 1951 Convention and the
           1967 Protocol....................................................................................... 5
     II. UNHCR Provides Authoritative Guidance on the Meaning of
         the 1951 Convention and the 1967 Protocol. ...................................... 7
     III. The Revised Asylum Policy Is Not in Conformity with the
          United States’ Obligations Under the 1951 Convention and the
          1967 Protocol....................................................................................... 9
           A. The Revised Asylum Policy Restricts the Right to Seek
              Asylum in Violation of the 1951 Convention and the 1967
              Protocol. ....................................................................................... 10

           B. The Revised Asylum Policy Creates a Penalty on Unlawful
              Entry That Is Prohibited by Article 31(1) of the 1951
              Convention.................................................................................... 15

           C. The Revised Asylum Policy Risks Refoulement of Refugees
              in Violation of Article 33(1) of the 1951 Convention................... 21

           D. Neither Withholding of Removal Under the INA Nor
              Protection Under the Convention Against Torture Is an
              Adequate Substitute for the Asylum Process. ............................... 23

  CONCLUSION ............................................................................................ 26


                                                           iv
USCA Case #19-5272             Document #1856344                    Filed: 08/13/2020           Page 6 of 39



                                  TABLE OF AUTHORITIES

  Cases

  Akinmade v. INS, 196 F.3d 951 (9th Cir. 1999) ........................................... 16

  Al-Harbi v. INS, 242 F.3d 882 (9th Cir. 2001) ............................................. 24

  Ali v. Lynch, 814 F.3d 306 (5th Cir. 2016) ..................................................... 8

  Attorney-Gen. v. Refugee Council of N.Z., Inc.
     [2003] 2 NZLR 577 (CA) (N.Z.) ............................................................. 16

  B010 v. Canada, [2015] 3 S.C.R. 704 (Can.) ............................................... 19

  Bringas-Rodriguez v. Sessions, 850 F.3d 1051
     (9th Cir. 2017) (en banc) ........................................................................... 7

  Bundesgericht [BGer] [Federal Supreme Court]
    Mar. 17, 1999, No. 6S.737/1998, 2/1999 Asyl 21 (Switz.) ............... 14, 21

  Cheng v. Attorney Gen., 623 F.3d 175 (3d Cir. 2010) ................................... 8

  E. Bay Sanctuary Covenant v. Trump, 349 F. Supp. 3d
     838 (N.D. Cal. 2018) ............................................................................... 14

  Huang v. Holder, 744 F.3d 1149 (9th Cir. 2014) ................................... 24, 25

  INS v. Cardoza-Fonseca, 480 U.S. 421 (1987) .......................... 1, 7, 8, 24–26

  INS v. Stevic, 467 U.S. 407 (1984) ............................................................... 25

  Khan v. Holder, 584 F.3d 773 (9th Cir. 2009) ............................................. 23

  Mekhoukh v. Ashcroft, 358 F.3d 118 (1st Cir. 2004)...................................... 8

  Mohammed v. Gonzales, 400 F.3d 785 (9th Cir. 2005) ............................. 1, 8

  O.A. v. Trump, 404 F. Supp. 3d 109 (D.D.C. 2019) ....................................... 9

  R. v. Appulonappa (2013), 358 D.L.R. 4th 666 (B.C. Sup. Ct.)................... 15

  R v. Asfaw [2008] UKHL 31 (U.K.) ................................................. 16, 20, 21

  R v. Uxbridge Mags. Ct. [1999] EWHC (Admin) 765 (Eng.) ................ 15–17
                                                      v
USCA Case #19-5272              Document #1856344                       Filed: 08/13/2020            Page 7 of 39



  Sale v. Haitian Ctrs. Council, Inc., 509 U.S. 155 (1993) ......................... 7, 21

  Yusupov v. Attorney Gen., 518 F.3d 185 (3d Cir. 2008) ................................ 7

  Statutes

  8 U.S.C. § 1231 ............................................................................................. 23

  Immigration and Nationality Act, 8 U.S.C. § 1101 et seq.................. 7, 23–25

  Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102......................... 4, 7–9

  Other Authorities

  8 C.F.R. § 208.16 .................................................................................... 24, 25

  Aliens Subject to a Bar on Entry Under Certain
     Presidential Proclamations, 83 Fed. Reg. 55,934
     (Nov. 9, 2018) .................................................... 2, 4, 12, 13, 17, 23, 24, 26

  Anne T. Gallagher & Fiona David, The International Law of Migrant
    Smuggling 165 (2014) ............................................................................. 19

  Black’s Law Dictionary (9th ed. 2009) .......................................................... 3

  Brief of UNHCR as Amicus Curiae, INS v. Stevic,
     467 U.S. 407 (1984) (No. 82-973)........................................................... 25

  Concise Oxford Dictionary 1010 (9th ed. 1995) .......................................... 18

  Conf. of Plenipotentiaries on the Status of Refugees & Stateless Perss.,
    U.N. Doc. A/CONF.2/SR.14 (1951) ....................................................... 17

  Convention Against Torture, Feb. 4, 1985, 1465
    U.N.T.S. 113 ...................................................................................... 23–26

  Convention on the Privileges & Immunities of the United
    Nations, Feb. 13, 1946, 21 U.S.T. 1418, 1 U.N.T.S. 15............................ 1

  Convention Relating to the Status of Refugees,
    July 28, 1951, 19 U.S.T. 6259, 189 U.N.T.S. 150 .............................. 2–25




                                                        vi
USCA Case #19-5272              Document #1856344                       Filed: 08/13/2020            Page 8 of 39



  Cathryn Costello et al., Article 31 of the 1951
     Convention Relating to the Status of Refugees
     (UNHCR Paper No. PPLA/2017/01, 2017) ............................................ 18

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    Note on International Protection (Submitted by
    the High Commissioner), U.N. Doc. A/AC.96/815
    (1993) ........................................................................................... 11, 21–23

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    on Non-Refoulement (Submitted by the High
    Commissioner), U.N. Doc. EC/SCP/2 (1977) ............................. 11, 21–22

  G.A. Res. 49/169 (Dec. 23, 1994) .................................................................. 6

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    Relating to the Status of Refugees, in Refugee
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    et al. eds., 2003) ................................................................................. 17, 20

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     International Law (2005) ....................................................... 11, 17–19, 21

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     Content of the Principle of Non-Refoulement, in
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     Relating to the Status of Refugees & Its 1967
     Protocol: A Commentary 1243 (Andreas Zimmerman
     et al. eds., 2011) ....................................................................................... 20

  Note, American Courts & the U.N. High Commissioner
    for Refugees, 131 Harv. L. Rev. 1399 (2018) ........................................... 9


                                                        vii
USCA Case #19-5272           Document #1856344                   Filed: 08/13/2020         Page 9 of 39



  Presidential Proclamation 9880, 84 Fed. Reg. 21,229
     (May 8, 2019) ................................................................ 2, 4, 12–13, 17, 26

  Protocol Relating to the Status of Refugees, Jan. 31, 1967,
     19 U.S.T. 6223, 606 U.N.T.S. 267 .......................... 2, 4–15, 17, 18, 24, 25

  Status of Perss. Who Emigrate for Econ. Reasons Under
     the Refugee Act of 1980, 5 Op. O.L.C. 264 (1981) .................................. 9

  Submission of UNHCR as Intervener, R v. Sec’y of State
    for Foreign & Commonwealth Affairs [2006] EWCA Civ
    1279 (Eng.), reprinted in 20 Int’l J. Refugee L. 675 (2008) ..................... 8

  UNHCR Exec. Comm., Conclusion No. 6 (XXVIII) (1977) ....................... 23

  UNHCR Exec. Comm., Conclusion No. 8 (XXVIII) (1977) ....................... 12

  UNHCR Exec. Comm., Conclusion No. 15 (XXX) (1979) ................... 19, 20

  UNHCR Exec. Comm., Conclusion No. 30 (XXXIV) (1983) ..................... 15

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    Committee on the Determination of Refugee Status,
    U.N. Doc. EC/SCP/29 (1983) .................................................................. 15

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    Refugee Status & Guidelines on International
    Protection, U.N. Doc. HCR/1P/4/ENG/REV.4
    (4th ed. 2019) ............................................................. 6, 8, 9, 11–15, 22, 24

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    for Illegal Entry or Presence (Mar. 15, 2017) ................................... 17, 18

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    Posed to UNHCR by the Federal Constitutional Court
    of the Federal Republic of Germany in Cases 2BvR
    1938/93, 2 BvR 1953/93, 2 BvR 1954/93 (Jan. 31, 1994) ...................... 22


                                                  viii
USCA Case #19-5272          Document #1856344                Filed: 08/13/2020       Page 10 of 39



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     in The 1951 Convention Relating to the Status of
     Refugees & Its 1967 Protocol: A Commentary 281
     (Andreas Zimmerman et al. eds., 2011) .................................................... 6




                                                ix
USCA Case #19-5272         Document #1856344              Filed: 08/13/2020       Page 11 of 39



                         GLOSSARY OF ABBREVIATIONS

   1951 Convention .................... Convention Relating to the Status of Refugees,
                                    July 28, 1951, 19 U.S.T. 6259, 189 U.N.T.S. 150

   1967 Protocol .................Protocol Relating to the Status of Refugees, Jan. 31,
                                             1967, 19 U.S.T. 6223, 606 U.N.T.S. 267

   CAT...................................... Convention Against Torture, Feb. 4, 1985, 1465
                                                                              U.N.T.S. 113

   INA ....................... Immigration and Nationality Act, 8 U.S.C. § 1101 et seq.

   Interim Asylum Rule ............ Aliens Subject to a Bar on Entry Under Certain
                                  Presidential Proclamations, 83 Fed. Reg. 55,934
                                                                    (Nov. 9, 2018)

   Proclamation ................ Presidential Proclamation 9880, 84 Fed. Reg. 21,229
                                                                      (May 8, 2019)

   Refugee Act .............. Refugee Act of 1980, Pub. L. No. 96-212, 94 Stat. 102

   UNHCR............................................... The Office of the United Nations High
                                                                  Commissioner for Refugees




                                               x
USCA Case #19-5272      Document #1856344            Filed: 08/13/2020     Page 12 of 39



                       INTEREST OF AMICUS CURIAE 1

         This case requires the Court to consider the lawfulness of recent and

   substantial changes to longstanding United States asylum law.             As the

   organization entrusted by the United Nations General Assembly with

   responsibility for providing international protection to refugees, see G.A. Res.

   428(V), annex, UNHCR Statute ¶ 1 (Dec. 14, 1950), the Office of the United

   Nations High Commissioner for Refugees (“UNHCR”) has a direct interest in

   this matter. Consistent with UNHCR’s role and interest, the Supreme Court

   and lower federal courts have recognized that UNHCR provides “significant

   guidance” in interpreting international and domestic refugee law. E.g., INS v.

   Cardoza-Fonseca, 480 U.S. 421, 439 n.22 (1987); Mohammed v. Gonzales,

   400 F.3d 785, 798 (9th Cir. 2005).

         UNHCR has a mandate to “[p]romot[e] the conclusion and ratification

   of international conventions for the protection of refugees” and to “supervis[e]

   their application and propos[e] amendments thereto.” UNHCR Statute ¶ 8(a).



   1
     All parties consent to the filing of this brief provided that it is timely filed
   and otherwise consistent with the rules of the Court. No person other than
   UNHCR and its outside counsel authored this brief in whole or in part or
   provided funding related to it. This brief does not constitute a waiver, express
   or implied, of any privilege or immunity that UNHCR or its staff may enjoy
   under applicable international legal instruments or recognized principles of
   international law. See Convention on the Privileges & Immunities of the
   United Nations, Feb. 13, 1946, 21 U.S.T. 1418, 1 U.N.T.S. 15.
                                           1
USCA Case #19-5272      Document #1856344            Filed: 08/13/2020        Page 13 of 39



   Its supervisory role is also expressly provided for in two refugee conventions

   that apply to the United States, namely, the 1951 Convention Relating to the

   Status of Refugees (“1951 Convention”), July 28, 1951, 19 U.S.T. 6259, 189

   U.N.T.S. 150, and the 1967 Protocol Relating to the Status of Refugees (“1967

   Protocol”), Jan. 31, 1967, 19 U.S.T. 6223, 606 U.N.T.S. 267. See 1951

   Convention pmbl., art. 35; 1967 Protocol art. II.

         UNHCR       exercises   its   supervisory     responsibility    by     issuing

   interpretations of the 1951 Convention, the 1967 Protocol, and other

   international refugee instruments. It also regularly presents its opinions to

   national courts, including the federal courts of the United States. Those

   opinions are informed by UNHCR’s more than six decades of experience

   assisting refugees and supervising the treaty-based system of refugee

   protection.

         UNHCR submits this brief out of concern that a recent federal rule,

   Aliens Subject to a Bar on Entry Under Certain Presidential Proclamations,

   83 Fed. Reg. 55,934 (Nov. 9, 2018), when considered alongside Presidential

   Proclamation 9880, 84 Fed. Reg. 21,229 (May 8, 2019), reflects a substantial

   change to United States asylum policy that, if implemented, would be at

   variance with three binding international law protections: the right to seek

   asylum, the prohibition against penalties for irregular entry, and the principle

                                          2
USCA Case #19-5272      Document #1856344            Filed: 08/13/2020    Page 14 of 39



   of non-refoulement. 2 UNHCR has a strong interest in ensuring that United

   States asylum policy remains consistent with the obligations that the United

   States undertook when it joined the international refugee protection regime,

   and respectfully offers its guidance on those obligations. Consistent with its

   approach in other cases, UNHCR takes no position on the merits of the

   underlying asylum claims of the individuals whom the plaintiffs serve.

                       STATUTES AND REGULATIONS

         All applicable statutes and regulations are contained in the Brief for

   Appellants.




   2
     The principle of non-refoulement refers to a “refugee’s right not to be
   expelled from one state to another, esp. to one where his or her life or liberty
   would be threatened.” Black’s Law Dictionary 1157 (9th ed. 2009). Article
   33(1) of the 1951 Convention provides that “[n]o Contracting State shall expel
   or return (‘refouler’) a refugee in any manner whatsoever to the frontiers of
   territories where his life or freedom would be threatened on account of his
   race, religion, nationality, membership of a particular social group or political
   opinion.”
                                          3
USCA Case #19-5272     Document #1856344           Filed: 08/13/2020   Page 15 of 39



                         SUMMARY OF ARGUMENT

         The United States is bound by several international treaty obligations

   related to refugees, including those enshrined in the Protocol Relating to the

   Status of Refugees (“1967 Protocol”), Jan. 31, 1967, 19 U.S.T. 6223, 606

   U.N.T.S. 267, to which the United States is formally a party, and in the

   Convention Relating to the Status of Refugees (“1951 Convention”), July 28,

   1951, 19 U.S.T. 6259, 189 U.N.T.S. 150, which is incorporated by reference

   in the 1967 Protocol. Essential to both treaties are core procedural and

   substantive rights that parties must uphold, and which, as a consequence, the

   United States Congress incorporated into federal statutory law through the

   Refugee Act of 1980 (“Refugee Act”), Pub. L. No. 96-212, 94 Stat. 102.

         The Office of the United Nations High Commissioner for Refugees

   (“UNHCR”) is concerned that a recent rule, Aliens Subject to a Bar on Entry

   Under Certain Presidential Proclamations (“Interim Asylum Rule”), 83 Fed.

   Reg. 55,934 (Nov. 9, 2018), and Presidential Proclamation 9880

   (“Proclamation”), 84 Fed. Reg. 21,229 (May 8, 2019), create a new national

   asylum policy (the “Revised Asylum Policy”) that is at odds with the United

   States’ obligations under the 1967 Protocol and the 1951 Convention.

         In particular, the Revised Asylum Policy has the effect of categorically

   denying the right to seek asylum to any asylum-seeker who crosses into the


                                         4
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020    Page 16 of 39



   United States from Mexico outside of a designated port of entry. This blanket

   denial of access to the asylum process for all asylum-seekers who have

   crossed irregularly is at variance with three fundamental principles of binding

   international refugee law: the right to seek asylum; the prohibition against

   penalties for irregular entry, as set forth in Article 31(1) of the 1951

   Convention; and the fundamental international legal principle of non-

   refoulement enshrined in Article 33(1) of the 1951 Convention.

         UNHCR is concerned that if the Revised Asylum Policy were to be

   implemented, the United States would not be in compliance with the 1967

   Protocol and the 1951 Convention. Given its responsibility to supervise the

   implementation of international refugee treaties and advise parties of their

   duties under international refugee law, UNHCR respectfully encourages the

   Court to consider the United States’ international law obligations when

   evaluating the legality of the Revised Asylum Policy and the propriety of the

   district court’s order granting summary judgment to plaintiffs.

                                  ARGUMENT

       I.       The United States Is Bound by the 1951 Convention and the
                1967 Protocol.

         In 1950, delegates from the United States and other United Nations

   Member States convened to craft an agreement that would ensure that

   “individuals . . . are not turned back to countries where they would be exposed
                                         5
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 17 of 39



   to the risk of persecution.” Andreas Zimmerman & Claudia Mahler, Article

   1A, Para. 2, in The 1951 Convention Relating to the Status of Refugees & Its

   1967 Protocol: A Commentary 281, 337 (Andreas Zimmerman et al. eds.,

   2011) [hereinafter 1951 Convention Commentary]. The result was the 1951

   Convention, which delineates the basic rights of refugees and asylum-seekers

   that parties must uphold, and which for more than six decades has served as

   the “cornerstone of the international system for” refugee protection. G.A.

   Res. 49/169 (Dec. 23, 1994).

         As the 1951 Convention primarily addressed the plight of those who

   fled persecution in the wake of World War II, see 1951 Convention art. 1(A),

   in 1966, the General Assembly took official notice of a second refugee

   treaty—the 1967 Protocol—which extended the Convention’s protections to

   any individual unable to return to his or her country of origin on account of

   threatened persecution on the basis of race, religion, nationality, membership

   in a particular social group, or political opinion. See 1967 Protocol art. I(2)–

   (3); Handbook on Procedures & Criteria for Determining Refugee Status &

   Guidelines on International Protection, U.N. Doc. HCR/1P/4/ENG/REV.4 ¶¶

   28, 34–35 (4th ed. 2019) [hereinafter Handbook].

         Nearly 150 parties, including the United States, have acceded to the

   1967 Protocol. As Article I(1) of the 1967 Protocol binds parties to Articles

                                          6
USCA Case #19-5272       Document #1856344         Filed: 08/13/2020     Page 18 of 39



   2 through 34 of the 1951 Convention, by ratifying the Protocol the United

   States agreed to comply with all of the “substantive provisions” of the 1951

   Convention. INS v. Cardoza-Fonseca, 480 U.S. 421, 429 (1987); see also

   Sale v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 169 n.19 (1993).

         To implement the United States’ commitments under the 1951

   Convention and 1967 Protocol into domestic statutory law, Congress passed

   the Refugee Act, which amended the Immigration and Nationality Act

   (“INA”), 8 U.S.C. § 1101 et seq., to bring “United States refugee law into

   conformance” with both treaties. Cardoza-Fonseca, 480 U.S. at 436. “The

   legislative history of the Refugee Act . . . makes clear that Congress intended

   to protect refugees to the fullest extent of [the United States’] international

   obligations,” rendering the scope and meaning of those obligations relevant

   to any interpretation of the INA’s asylum provisions. Yusupov v. Attorney

   Gen., 518 F.3d 185, 203 (3d Cir. 2008) (footnote omitted); accord, e.g.,

   Cardoza-Fonseca, 480 U.S. at 436–38; Bringas-Rodriguez v. Sessions, 850

   F.3d 1051, 1060–61 (9th Cir. 2017) (en banc).

      II.        UNHCR Provides Authoritative Guidance on the Meaning of
                 the 1951 Convention and the 1967 Protocol.

            UNHCR has a mandate to supervise the application of international

   conventions for the protection of refugees, including the 1951 Convention and

   the 1967 Protocol. G.A. Res. 428(V), annex, UNHCR Statute ¶ 8(a) (Dec. 14,
                                         7
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 19 of 39



   1950). In language initially proposed by the United States, both treaties

   specifically acknowledge UNHCR’s supervisory role.           1951 Convention

   pmbl., art. 35; 1967 Protocol art. II; see Submission of UNHCR as Intervener

   ¶ 89, R v. Sec’y of State for Foreign & Commonwealth Affairs [2006] EWCA

   Civ 1279 (Eng.), reprinted in 20 Int’l J. Refugee L. 675, 697 (2008).

         UNHCR exercises its supervisory responsibility in part by issuing

   interpretive guidance concerning the 1951 Convention and its 1967 Protocol.

   Chief among these interpretations is UNHCR’s Handbook, which UNHCR

   first drafted in 1979, and which sets forth authoritative guidance on the 1951

   Convention and 1967 Protocol.

         The Supreme Court and lower federal courts have recognized that the

   Handbook and UNHCR’s other interpretations provide “significant guidance”

   in construing the 1951 Convention and the 1967 Protocol, as well as the

   Refugee Act that implemented them into domestic law. E.g., Cardoza-

   Fonseca, 480 U.S. at 436–39, 439 n.22; Ali v. Lynch, 814 F.3d 306, 314 n.7

   (5th Cir. 2016); Cheng v. Attorney Gen., 623 F.3d 175, 193 & n.13 (3d Cir.

   2010); Mohammed v. Gonzales, 400 F.3d 785, 798 (9th Cir. 2005); Mekhoukh

   v. Ashcroft, 358 F.3d 118, 126 & n.6 (1st Cir. 2004). That is because

   “Congress was aware of the criteria articulated in the Handbook when it

   passed the [Refugee] Act in 1980, and . . . it is [thus] appropriate to consider

                                          8
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 20 of 39



   the guidelines in the Handbook as an aid to the construction of the Act.”

   Status of Perss. Who Emigrate for Econ. Reasons Under the Refugee Act of

   1980, 5 Op. O.L.C. 264, 266 (1981) (Theodore B. Olson); see also Note,

   American Courts & the U.N. High Commissioner for Refugees, 131 Harv. L.

   Rev. 1399, 1419 (2018) (observing that “UNHCR was already engaged in

   monitoring and interpretive activities at the time that the United States joined

   the international refugee regime by signing the [1967] Protocol”).

     III.       The Revised Asylum Policy Is Not in Conformity with the
                United States’ Obligations Under the 1951 Convention and
                the 1967 Protocol.

         The 1951 Convention and 1967 Protocol set forth several procedural

   and substantive rights for refugees that states are bound to respect and uphold.

   Chief among these are three core safeguards—the right to seek asylum,

   protection against penalties for illegal entry, and protection against

   refoulement—that ensure asylum-seekers’ safety and are thus critical to

   refugees’ full enjoyment of the other rights guaranteed by the 1951

   Convention and 1967 Protocol. See Handbook at 1, ¶¶ 189–90. The Revised

   Asylum Policy, which effectively renders aliens “ineligible for asylum if they

   enter the United States from Mexico outside a designated port of entry,” O.A.

   v. Trump, 404 F. Supp. 3d 109, 117 (D.D.C. 2019), is at variance with these

   three fundamental protections.

                                          9
USCA Case #19-5272       Document #1856344           Filed: 08/13/2020     Page 21 of 39



         First, the Revised Asylum Policy’s categorical denial of asylum to an

   entire class of asylum-seekers is at odds with the United States’ obligation

   under the 1951 Convention and 1967 Protocol to provide all asylum-seekers

   with a fair and efficient process for establishing their refugee status. Second,

   the basis of that denial—irregular border-crossing—is inconsistent with

   Article 31(1) of the 1951 Convention, which, in order to protect refugees’

   fundamental rights, prohibits states from imposing penalties on account of

   irregular entry. Third, the Policy is likely to result in the refoulement of some

   of the asylum-seekers who are categorically barred from obtaining asylum

   within the United States, a result that violates the prohibition on returning

   refugees to persecution that is enshrined in Article 33(1) of the 1951

   Convention.

                 A. The Revised Asylum Policy Restricts the Right to Seek
                    Asylum in Violation of the 1951 Convention and the 1967
                    Protocol.

         The 1951 Convention and 1967 Protocol define who is a refugee

   without reference to whether an individual has been officially recognized as

   such. A person is a refugee, and entitled to the protections that come with that

   status, if he or she is outside his or her country and unable to return on account

   of a “well-founded fear” of persecution “for reasons of race, religion,

   nationality, membership of a particular social group or political opinion.”


                                          10
USCA Case #19-5272     Document #1856344           Filed: 08/13/2020   Page 22 of 39



   1967 Protocol art. I(2)–(3); 1951 Convention art. 1(A)(2). In other words, a

   grant of asylum or refugee status does not make a person a refugee, but rather

   formally recognizes that the person is a refugee. Handbook ¶ 28.

         The 1951 Convention and 1967 Protocol’s extension of protection to

   refugees who have not received formal recognition of their status necessarily

   requires a process for identifying refugees among asylum-seekers. 3

   Handbook ¶ 189; Exec. Comm. of the High Comm’r’s Programme, Note on

   International Protection (Submitted by the High Commissioner) ¶ 11, U.N.

   Doc. A/AC.96/815 (1993) [hereinafter Note on International Protection].

   That process must meet basic due process requirements, chief among which,

   in the absence of a group-based protection process, is an individualized

   examination of whether each asylum-seeker meets the definition of a refugee




   3
     As discussed below, the obligation to protect unrecognized refugees also
   requires the extension of certain basic rights under the 1951 Convention and
   1967 Protocol, including the prohibition against penalties for irregular entry
   and the principle of non-refoulement, to every asylum-seeker until he or she
   is determined, through a fair process, not to be a refugee. See Exec. Comm.
   of the High Comm’r’s Programme, Note on Non-Refoulement (Submitted by
   the High Commissioner) ¶ 19, U.N. Doc. EC/SCP/2 (1977); James C.
   Hathaway, The Rights of Refugees Under International Law 389 & n.491
   (2005).

                                        11
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 23 of 39



   set forth in the 1951 Convention and 1967 Protocol. 4 See Handbook ¶¶ 44,

   192; UNHCR Exec. Comm., Conclusion No. 8 (XXVIII) ¶ (e) (1977). 5

         The Revised Asylum Policy falls short of this individualized

   determination requirement because the Policy effectively closes the asylum

   process to all asylum-seekers who cross the United States’ southern border

   irregularly: the Proclamation suspends the right of entry to “any alien into the

   United States across the international boundary between the United States and

   Mexico” and exempts only lawful permanent residents and “alien[s] who

   enter[] the United States at a port of entry and properly present[] for

   inspection.” 84 Fed. Reg. at 21,230. The Interim Asylum Rule makes aliens

   categorically ineligible for asylum if they are “subject to a presidential

   proclamation” that “suspend[s] or limit[s] the entry of aliens along the

   southern border with Mexico.” 83 Fed. Reg. at 55,952. This blanket denial


   4
     “[R]efugee status must normally be determined on an individual basis . . . .”
   Handbook ¶ 44. Although parties may grant refugee status to groups of
   individuals in urgent circumstances where it is “not . . . possible for purely
   practical reasons to carry out an individual determination . . . for each member
   of the group,” id., this allowance for group-based protection does not permit
   states to deny refugee status to groups of individuals without some
   individualized consideration.
   5
     UNHCR’s Executive Committee Conclusions are adopted by consensus by
   the states that comprise the Executive Committee. The Conclusions reflect
   these states’ understanding of legal standards regarding the protection of
   refugees. At present, 102 states are members of the Executive Committee; the
   United States has been a member since 1951.

                                         12
USCA Case #19-5272       Document #1856344         Filed: 08/13/2020    Page 24 of 39



   of asylum process fails to provide a whole group of asylum-seekers with any

   individualized process for establishing their refugee status and entitlement to

   asylum, and goes well beyond the specific and limited exclusions to

   entitlement to refugee protection enumerated in the 1951 Convention. 6

            UNHCR recognizes that under the Revised Asylum Policy, asylum-

   seekers would retain access to asylum process if they are able to enter the

   United States from Mexico at a designated port of entry. See Proclamation,

   84 Fed. Reg. at 21,230. However, neither the 1951 Convention nor the 1967

   Protocol permits parties to condition access to asylum procedures on regular

   entry.

            Many refugees cannot satisfy regular exit and entry requirements and

   have no choice but to cross into a safe country irregularly prior to making an

   asylum claim. See Memorandum from the Sec’y-Gen. to the Ad Hoc Comm.


   6
     Although the 1951 Convention foresees that some individuals may be
   excluded from refugee protection in exceptional circumstances, the Revised
   Asylum Policy does not conform to the specific, limited restrictions that the
   1951 Convention allows. Under the 1951 Convention, states are to deny
   refugee protection to individuals who have committed heinous acts or serious
   common crimes—and they may deny protection from refoulement to
   individuals who pose a “danger to the security of the country in which” they
   are in and to individuals “who, having been convicted by a final judgment of
   a particularly serious crime, constitute[] a danger to the community of that
   country.” 1951 Convention arts. 1(F), 33(2). These exclusions require
   individualized assessments and “must be [interpreted] restrictive[ly].”
   Handbook ¶ 149.

                                         13
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020    Page 25 of 39



   on Statelessness, Status of Refugees & Stateless Perss. annex art. 24 cmt. ¶ 2,

   U.N. Doc. E/AC.32/2 (1950) [hereinafter Memorandum from the Secretary-

   General]; UNHCR Exec. Comm., Conclusion No. 58 (XL) ¶ (i) (1979). 7 For

   this reason, the fair and efficient asylum process that the 1951 Convention and

   1967 Protocol demand must allow for the possibility that refugees will need

   to cross borders irregularly. See Handbook ¶ 190; Memorandum from the

   Secretary-General annex art. 24 cmt. ¶ 2.

         UNHCR appreciates the fact that states face operational demands to

   manage their borders efficiently and acknowledges that, with adequate

   safeguards, parties may impose procedural requirements, such as claim-

   processing rules, on asylum applications. However, UNHCR has serious

   concerns about the categorical closing of the asylum process envisioned by

   the Revised Asylum Policy. Parties may not use border management as a

   means to deter refugees from seeking asylum or to deny protection to whole



   7
     UNHCR also notes that it may be difficult or impossible for some asylum-
   seekers who would ordinarily be able to register asylum claims at ports of
   entry to do so due to the “lengthy delays” for asylum processing that have
   existed at border checkpoints along the United States’ southern border. E.
   Bay Sanctuary Covenant v. Trump, 349 F. Supp. 3d 838, 851 (N.D. Cal.
   2018); see also Bundesgericht [BGer] [Federal Supreme Court] Mar. 17,
   1999, No. 6S.737/1998, 2/1999 Asyl 21, 21–23 (Switz.) (explaining that a
   refugee has particularly “compelling reasons for illegal entry” if he has
   “genuine[] fears” that he will be denied regular admission to a state that can
   guarantee his safety (transl. of counsel)).
                                         14
USCA Case #19-5272       Document #1856344         Filed: 08/13/2020   Page 26 of 39



   classes of asylum-seekers, as many individual class members will have valid

   claims to protection as refugees under the 1951 Convention and 1967

   Protocol. 8 See, e.g., Handbook ¶¶ 44, 189; UNHCR, Detention Guidelines 19

   ¶ 32 (2012).

                  B. The Revised Asylum Policy Creates a Penalty on Unlawful
                     Entry That Is Prohibited by Article 31(1) of the 1951
                     Convention.

         Refugees are “rarely in a position to comply with the requirements for

   legal entry.” Memorandum from the Secretary-General annex art. 24 cmt. ¶

   2; accord R. v. Appulonappa (2013), 358 D.L.R. 4th 666, paras. 59–60 (B.C.

   Sup. Ct.), aff’d, [2015] 3 S.C.R. 754 (Can.); R v. Uxbridge Mags. Ct. [1999]

   EWHC (Admin) 765, [1] (Brown LJ) (Eng.). Given that they are fleeing

   persecution and do not have the protection of their home state, refugees may



   8
     UNHCR also recognizes that asylum screening procedures “may usefully
   include special provision for dealing in an expeditious manner with
   applications” that are “clearly abusive” or “manifestly unfounded.” UNHCR
   Exec. Comm., Conclusion No. 30 (XXXIV) ¶ (d) (1983). However, due to
   “the grave consequences of an erroneous determination,” any procedure for
   disposing of abusive applications must be “accompanied by appropriate
   procedural guarantees,” id. ¶ (e), and “no application [may] be treated as
   manifestly unfounded or abusive unless its fraudulent character or its lack of
   any connection with the relevant criteria is truly free from doubt,” UNHCR,
   Follow-Up on Earlier Conclusions of the Sub-Committee on the
   Determination of Refugee Status ¶ 19, U.N. Doc. EC/SCP/29 (1983). As the
   Revised Asylum Policy implements a blanket denial of asylum without any
   individualized examination of the merits of asylum claims, it cannot be
   justified by any allowance for screening procedures for abusive applications.
                                        15
USCA Case #19-5272       Document #1856344            Filed: 08/13/2020     Page 27 of 39



   lack “appropriate documentation” for exit and entry or may need to evade the

   detection of authorities or other persecutors, and must therefore resort to

   “cross[ing] borders clandestinely in order to access protection.” Attorney-

   Gen. v. Refugee Council of N.Z., Inc. [2003] 2 NZLR 577 at [6] per Tipping

   J. (CA) (N.Z.); R v. Asfaw [2008] UKHL 31, [51] (Lord Hope of Craighead)

   (U.K.); UNHCR Exec. Comm., Conclusion No. 58 (XL) ¶ (i) (1979); accord

   Akinmade v. INS, 196 F.3d 951, 955 (9th Cir. 1999) (“[W]e recognize that a

   genuine refugee escaping persecution may lie about his citizenship to

   immigration officials in order to flee his place of persecution . . . .”).

         Given that a “quest for asylum” can “reasonably involve[] . . . breaching

   the law,” Uxbridge Mags. Ct. [1999] EWHC (Admin) 765, [15]–[16] (Brown

   LJ), Article 31(1) restricts parties’ ability to penalize asylum-seekers for

   crossing borders irregularly:

         The Contracting States shall not impose penalties, on account of
         their illegal entry or presence, on refugees who, coming directly
         from a territory where their life or freedom was threatened in the
         sense of article 1, enter or are present in their territory without
         authorization, provided they present themselves without delay to
         the authorities and show good cause for their illegal entry or
         presence.




                                           16
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020    Page 28 of 39



   1951 Convention art. 31(1). 9 The provision’s drafting history makes clear

   that “[t]he fact that a refugee was fleeing from persecution was [in of itself]

   good cause” for illegal entry. James C. Hathaway, The Rights of Refugees

   Under International Law 393 (2005) (alterations in original) (quoting Conf. of

   Plenipotentiaries on the Status of Refugees & Stateless Perss., U.N. Doc.

   A/CONF.2/SR.14 (1951) (Statement of Mr. Hoare of the United Kingdom));

   UNHCR, Summary Conclusions on Non-Penalization for Illegal Entry or

   Presence 7 ¶ 18 (Mar. 15, 2017) [hereinafter Summary Conclusions on Non-

   Penalization].

         The Revised Asylum Policy is inconsistent with Article 31(1) because

   it imposes a penalty on asylum-seekers for the sole reason that they entered

   the United States irregularly. See Proclamation, 84 Fed. Reg. at 21,230;

   Interim Asylum Rule, 83 Fed. Reg. at 55,952. UNHCR is particularly

   troubled by the nature of the penalty imposed—the categorical denial of




   9
     Consistent with the broad definition of refugee in the 1951 Convention and
   1967 Protocol, see supra pp. 10–11, the drafting history confirms that Article
   31(1) was intended to protect “all persons who claim refugee status, until and
   unless they are finally determined not to be Convention refugees.” Hathaway,
   supra, at 389; accord, e.g., Uxbridge Mags. Ct. [1999] EWHC (Admin) 765,
   [16] (Brown LJ); UNHCR, Summary Conclusions on Non-Penalization for
   Illegal Entry or Presence 4 ¶ 7 (Mar. 15, 2017); Guy S. Goodwin-Gill, Article
   31 of the 1951 Convention Relating to the Status of Refugees, in Refugee
   Protection in International Law 185, 193 (Volker Türk et al. eds., 2003).
                                         17
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 29 of 39



   asylum process—as its imposition will likely result in the return of some

   refugees to countries where they will be persecuted.

         It makes no difference that the Revised Asylum Policy’s blanket denial

   of asylum could be classified as a civil or administrative penalty rather than a

   criminal one; UNHCR’s view is that the concept of impermissible “penalties”

   in Article 31(1) encompasses civil or administrative penalties as well as

   criminal ones. Importantly, Article 31(1) does not distinguish between civil

   and criminal penalties. Its unqualified use of the word “penalty” refers to any

   “loss inflicted for violation of a law,” not merely those that are criminal in

   nature. Hathaway, supra, at 410 (citing Concise Oxford Dictionary 1010 (9th

   ed. 1995)); Summary Conclusions on Non-Penalization at 7 ¶ 19; Cathryn

   Costello et al., Article 31 of the 1951 Convention Relating to the Status of

   Refugees 32–33 (UNHCR Paper No. PPLA/2017/01, 2017).

         Moreover, the purpose of the 1951 Convention and 1967 Protocol is to

   ensure that all refugees can gain access to international protection. Summary

   Conclusions on Non-Penalization at 2 ¶ 2. Accordingly, the term “penalties”

   in Article 31(1) should be interpreted in a manner that protects, rather than

   prevents, refugees’ access to asylum. Id.; Costello et al., supra, at 32. A

   protective reading of the language of Article 31(1) also accords with Article

   31(1)’s drafting history, which shows that the provision’s framers abandoned

                                         18
USCA Case #19-5272      Document #1856344            Filed: 08/13/2020    Page 30 of 39



   a “narrow construction of the notion of” penalties included in the original draft

   and adopted a United States proposal to prohibit any penalties imposed on

   refugees due to their unlawful entry. Hathaway, supra, at 408–10.

         Accordingly, Article 31(1)’s import “for domestic admissibility

   provisions is clear. . . . ‘[A]n individual cannot be denied refugee status—or,

   most important, the opportunity to make a claim for such status through fair

   assessment procedures—solely because of the way in which that person

   sought or secured entry into the country of destination.’” B010 v. Canada,

   [2015] 3 S.C.R. 704, 729 (Can.) (quoting Anne T. Gallagher & Fiona David,

   The International Law of Migrant Smuggling 165 (2014)).

         Nor does it make a difference that some of the refugees affected by the

   Revised Asylum Policy have transited through other countries, such as

   Mexico, on their way to seek protection in the United States. Although Article

   31(1) protects only refugees who “com[e] directly” from a jurisdiction where

   they faced persecution on account of a protected ground, this limiting

   language “does not disfranchise” refugees who have “passed through, or even

   [have] been provisionally admitted to, another country.” 10 Hathaway, supra,


   10
      There is no obligation under international law for a person to seek asylum
   at the first effective country, and “asylum should not be refused solely on the
   ground that it could be sought from another State.” UNHCR Exec. Comm.,
   Conclusion No. 15 (XXX) ¶ (h)(iv) (1979).

                                          19
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020    Page 31 of 39



   at 396; Guy S. Goodwin-Gill, Article 31 of the 1951 Convention Relating to

   the Status of Refugees, in Refugee Protection in International Law 185, 217–

   18 (Volker Türk et al. eds., 2003); UNHCR Exec. Comm., Conclusion No. 15

   (XXX) ¶ (h)(iii) (1979). Rather, it simply permits penalties on refugees who

   have already sought and found asylum in a safe third country and later cross

   into another state irregularly. Gregor Noll, Article 31, in 1951 Convention

   Commentary at 1243, 1257; Goodwin-Gill, supra, at 218.

         This reading of Article 31(1)’s “coming directly” language is well

   supported by Article 31(1)’s drafting history.       As the House of Lords

   described that history, “there was universal acceptance [among the drafters]

   that the mere fact that refugees stopped while in transit ought not deprive them

   of the benefit of the article.” Asfaw [2008] UKHL 31, [56] (Lord Hope of

   Craighead). Moreover, a more expansive reading of the “coming directly”

   language would overlook the provision’s functional role in supporting the

   architecture of the 1951 Convention. Article 31(1) helps to implement one of

   the core lessons from the interwar period—the importance of “international

   co-operation” in ensuring that no one country is forced to bear an “unduly

   heavy burden[]” that could prompt the closing of borders to refugees. 1951

   Convention pmbl.; see Noll, supra, at 1256.




                                         20
USCA Case #19-5272         Document #1856344            Filed: 08/13/2020     Page 32 of 39



         In short, though Article 31(1) might not preclude penalization of

   individuals who have spent significant time in a third country of refuge, its

   provisions were “intended to apply, and ha[ve] been interpreted to apply, to

   persons who have briefly transited other countries.” Asfaw [2008] UKHL 31,

   [19], [50] (Lord Hope of Craighead) (quoting Summary Conclusions: Article

   31 of the 1951 Convention, in Refugee Protection in International Law, supra,

   at 253, 255); accord, e.g., Bundesgericht [BGer] [Federal Supreme Court]

   Mar. 17, 1999, No. 6S.737/1998, 2/1999 Asyl 21, 21–23 (Switz.); Hathaway,

   supra, at 396.

                C. The Revised Asylum Policy Risks Refoulement of Refugees
                   in Violation of Article 33(1) of the 1951 Convention.

         Article 33(1) of the 1951 Convention prohibits parties from

   “expel[ling] or return[ing] (‘refouler’) a refugee in any manner whatsoever to

   the frontiers of territories where his life or freedom would be threatened on

   account of his race, religion, nationality, membership of a particular social

   group or political opinion.” 1951 Convention art. 33(1). The article has a

   broad reach, applying both within a state’s territory and at its border, see Sale

   v. Haitian Ctrs. Council, Inc., 509 U.S. 155, 180–82 (1993), and to recognized

   refugees and asylum-seekers whose status has not yet been determined, Note

   on International Protection ¶ 11; Exec. Comm. of the High Comm’r’s

   Programme,       Note   on   Non-Refoulement     (Submitted     by   the   High
                                          21
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020    Page 33 of 39



   Commissioner) ¶ 19, U.N. Doc. EC/SCP/2 (1977); Elihu Lauterpacht &

   Daniel Bethlehem, The Scope & Content of the Principle of Non-

   Refoulement, in Refugee Protection in International Law, supra, at 87, 116–

   18.

         The importance of non-refoulement cannot be overstated. It is “the

   cornerstone of asylum and of international refugee law,” Note on International

   Protection ¶ 10, and one of the core principles of the 1951 Convention,

   Handbook at 1. As the High Commissioner has explained, “[i]t would be

   patently impossible to provide international protection to refugees if States

   failed to respect this paramount principle of refugee law and of human

   solidarity.”   Note on International Protection ¶ 10.      Importantly, non-

   refoulement is recognized as a principle of customary international law. See

   UNHCR, The Principle of Non-Refoulement as a Norm of Customary

   International Law: Response to Questions Posed to UNHCR by the Federal

   Constitutional Court of the Federal Republic of Germany in Cases 2BvR

   1938/93, 2 BvR 1953/93, 2 BvR 1954/93 ¶ 5 (Jan. 31, 1994); Lauterpacht &

   Bethlehem, supra, at 149–63.

         UNHCR is concerned that the Revised Asylum Policy does not comply

   with Article 33(1)’s prohibition against refoulement.       By categorically

   denying aliens the right to seek asylum for the sole reason that they have

                                        22
USCA Case #19-5272       Document #1856344            Filed: 08/13/2020     Page 34 of 39



   crossed into the United States irregularly, the Policy places individuals with

   valid asylum claims at risk of deportation to the very states they have sought

   to escape. Such a return to persecution is forbidden by Article 33(1) and is

   inconsistent with the “international community[’s commitment] to ensure to

   [all] those in need of protection the enjoyment of fundamental human rights,

   including the rights to life . . . and to liberty and security of [the] person.” 11

   Note on International Protection ¶ 10; UNHCR Exec. Comm., Conclusion No.

   6 (XXVIII) ¶¶ (a)–(c) (1977).

                D. Neither Withholding of Removal Under the INA Nor
                   Protection Under the Convention Against Torture Is an
                   Adequate Substitute for the Asylum Process.

         The Interim Asylum Rule purports to be consistent with the United

   States’ international law obligations because it does not deny any alien the

   right to apply for withholding of removal under the INA, see 8 U.S.C. §

   1231(b)(3)(A), or the protection afforded by regulations that implement the



   11
      Article 33(2)—along with the INA—does create narrow exceptions to
   Article 33(1)’s prohibition against refoulement, providing that the “benefit of
   [Article 33(1)] may not . . . be claimed by a refugee whom there are reasonable
   grounds for regarding as a danger to the security of the country in which he
   is, or who, having been convicted by a final judgement of a particularly
   serious crime, constitutes a danger to the community.” 1951 Convention art.
   33(2); Khan v. Holder, 584 F.3d 773, 777 (9th Cir. 2009). However, as noted
   above, a state relying on Article 33(2) must determine on an individualized
   basis whether a refugee falls into one of the exceptions. See supra note 6;
   Lauterpacht & Bethlehem, supra, at 136–37.
                                           23
USCA Case #19-5272       Document #1856344            Filed: 08/13/2020   Page 35 of 39



   Convention Against Torture (“CAT”), Feb. 4, 1985, 1465 U.N.T.S. 113; 8

   C.F.R. § 208.16(c). See Interim Asylum Rule, 83 Fed. Reg. at 55,938–39.

   However, UNHCR is concerned that withholding of removal under the INA

   and protection under CAT do not provide an adequate substitute for the

   asylum procedures required by the 1951 Convention and 1967 Protocol and

   do not extend all rights articulated in the treaties.

         Most importantly, withholding of removal and protection under CAT

   are not available to all refugees. To prove entitlement to withholding of

   removal under the INA, an applicant “must demonstrate that it is more likely

   than not that he would be subject to persecution” in his country of origin.

   Huang v. Holder, 744 F.3d 1149, 1152 (9th Cir. 2014) (quoting Al-Harbi v.

   INS, 242 F.3d 882, 888 (9th Cir. 2001)). By contrast, an alien is entitled to

   asylum if he makes the lesser showing of a well-founded fear of persecution,

   which requires establishing “to a reasonable degree, that his continued stay in

   his country of origin has become intolerable to him for the reasons stated in

   the definition [of a refugee] or would for the same reasons be intolerable if he

   returned there.” Cardoza-Fonseca, 480 U.S. at 439–40 (quoting Handbook ¶

   42). Accordingly, under the Revised Asylum Policy, a refugee who can

   demonstrate a “well-founded fear of persecution” may nonetheless be denied

   even the most basic rights that come with asylum under the 1951 Convention

                                           24
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020    Page 36 of 39



   and 1967 Protocol, including protection from refoulement, if he or she cannot

   also surmount the “higher” bar for entitlement to withholding of removal. 12

   Huang, 744 F.3d at 1152.

         CAT protections are also not available to all refugees who would

   otherwise qualify for asylum. Under United States law, an alien is entitled to

   protection under CAT only if he or she proves that “it is more likely than not

   that he or she would be tortured if removed.” 8 C.F.R. § 208.16(c)(2). Like

   the standard for withholding of removal, this preponderance standard is more

   difficult to meet than the international law standard for asylum: “to show a

   ‘well-founded fear of persecution,’ an alien need not prove that it is more

   likely than not that he or she will be persecuted in his or her home country.”



   12
     UNHCR recognizes that in INS v. Stevic, 467 U.S. 407 (1984), the Supreme
   Court held that withholding of removal—the INA’s codification of Article
   33(1)’s non-refoulement principle—is available to only those who can prove
   that it is more likely than not that they will be persecuted on removal. Id. at
   429–30. UNHCR’s position is that Article 33(1) of the 1951 Convention
   prohibits the refoulement of any individual who can make the lesser showing
   of a “well-founded fear of persecution.” See generally Brief of UNHCR as
   Amicus Curiae at 12–29, Stevic, 467 U.S. 407 (No. 82-973). Even if Article
   33(1) were to allow for the preponderance standard adopted in Stevic,
   withholding of removal would still be an inadequate substitute for the asylum
   process, as asylum is available to all individuals who can make the lesser
   showing of a “well-founded fear of persecution,” even if they cannot satisfy
   the Stevic standard. Cardoza-Fonseca, 480 U.S. at 430–32. Accordingly,
   Stevic cannot justify the Revised Asylum Policy’s withdrawal of the right to
   seek asylum, or the Policy’s penalization of refugees for irregular entry. See
   supra § III(A)–(B).
                                         25
USCA Case #19-5272      Document #1856344           Filed: 08/13/2020      Page 37 of 39



   Cardoza-Fonseca, 480 U.S at 449 (emphasis added). Moreover, because of

   their focus on torture, statutory CAT protections may be unavailable for

   refugees facing persecution on a protected ground if the persecution does not

   qualify as torture under federal law, even if it entails serious violations of

   human rights.

                                  CONCLUSION

         UNHCR is concerned that the Revised Asylum Policy reflected in the

   Interim Asylum Rule and Proclamation is at variance with the United States’

   obligations under international law, and respectfully requests the Court to

   consider those obligations when evaluating the legality of the Policy and the

   propriety of the district court’s order granting summary judgment to plaintiffs.


   Dated: August 13, 2020                        Respectfully submitted,


                                                 /s/ Patrick W. Pearsall

   ALICE FARMER                                  PATRICK W. PEARSALL
   OFFICE OF THE UNITED                          Counsel of Record
   NATIONS HIGH COMMISSIONER                     TAYLOR S. WEST
   FOR REFUGEES                                  ALLEN & OVERY LLP
   1800 Massachusetts Ave., N.W.                 1101 New York Ave., N.W.
   Washington, D.C. 20036                        Washington, D.C. 20005
   (202) 296-5191                                (202) 683-3800

                    Counsel for the Office of the United Nations
                        High Commissioner for Refugees



                                         26
USCA Case #19-5272      Document #1856344          Filed: 08/13/2020       Page 38 of 39



                      CERTIFICATE OF COMPLIANCE

         I certify that, pursuant to Federal Rules of Appellate Procedure 29 and

   32, the foregoing Brief of Amicus Curiae is printed in a proportionally spaced,

   serif typeface of 14-point, and contains 6,036 words, excluding words in

   sections identified as exempted in Federal Rule of Appellate Procedure 32(f)

   and Circuit Rule 32(e)(1).


         August 13, 2020

                                                 /s/ Patrick W. Pearsall

                                                 PATRICK W. PEARSALL
                                                 ALLEN & OVERY LLP
                                                 1101 New York Ave., N.W.
                                                 Washington, D.C. 20005
                                                 (202) 683-3800
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                         CERTIFICATE OF SERVICE

         I certify that on August 13, 2020, I caused the foregoing Brief of

   Amicus Curiae to be filed with the Clerk of the United States Court of Appeals

   for the District of Columbia Circuit through the Court’s CM/ECF system.

   Counsel in the case are registered CM/ECF users, and service will be

   accomplished by the CM/ECF system.


         August 13, 2020

                                                /s/ Patrick W. Pearsall

                                                PATRICK W. PEARSALL
                                                ALLEN & OVERY LLP
                                                1101 New York Ave., N.W.
                                                Washington, D.C. 20005
                                                (202) 683-3800
